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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                               19-CR-561 (LAP)
         -against-                             11-CV-691 (LAK)

STEVEN DONZIGER,                                   ORDER
                  Defendant.



LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    The Court is in receipt of Ronald Kuby’s letter of November

6, 2020, stating that he will be accompanying Mr. Donziger to

trial on Monday and requesting permission to address the Court,

“from the well, to discuss scheduling an adjourn date.”          (Dkt.

no. 204.)     Trial time is valuable, and using it for a conference

is suboptimal.     However, Mr. Kuby is always free to confer with

the Prosecutors and report the outcome.


SO ORDERED.

Dated:   November 6, 2020
         New York, New York




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                                       LORETTA A. PRESKA, U.S.D.J.




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